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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

               v.

 INTERNET RESEARCH AGENCY, Crim. No. 18-32 (DLF)
 LLC, et al.

                Defendants.



  GOVERNMENT’S UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO
RESPOND TO DEFENDANT CONCORD MANAGEMENT’S MOTION RELATED TO
                    GRAND JURY MATERIALS

       The United States of America, by and through Special Counsel Robert S. Mueller, III, files

this unopposed motion for a short extension of time—to and including June 1, 2018—to respond

to a motion by defendant Concord Management & Consulting LLC (“Concord Management”) “for

an in camera inspection of the legal instructions provided to the grand jury regarding Count One

of the Indictment.”

       1.      On May 14, 2018, Concord Management filed a motion “for an in camera

inspection of the legal instructions provided to the grand jury regarding Count One of the

Indictment.” (ECF No. 10). A copy of the defendant’s motion and accompanying exhibits were

served on the government through the CM/ECF notification procedures.           The government

respectfully requests a short extension of time—through and including June 1, 2018—to respond

to defendant Concord Management’s motion. In addition to the workload of other matters being

handled by the Special Counsel’s Office, the government notes that May 28, 2018 is a federal

holiday (Memorial Day) and requests the Court permit the government to file its response at the

end of the shortened week
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       2.      On May 17, 2018, counsel for defendant Concord Management informed the

government that it does not oppose the requested extension.

       For the foregoing reasons, the government’s unopposed motion for an extension of time to

and including June 1, 2018 should be granted. A proposed order accompanies this motion.

                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER III
                                                   Special Counsel

Dated: May 18, 2018                         By:    /s/ L. Rush Atkinson
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                                                   L. Rush Atkinson
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